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                             UNITED STATES DISTRICT COURT

                                    DISTRICT OF OREGON

                                      EUGENE DIVISION


NICHOLAS JAMES MCGUFFIN, as an                                      Case No. 6:20-cv-01163-MK
individual and as guardian ad litem, on behalf
of S.M., a minor,                                                   ORDER Re: SCOPE OF
                                                                    MCCREA DEPOSITION


                      Plaintiff,


       v.


MARK DANNELS et al.,




Defendants.

_________________________________________

KASUBHAI, United States Magistrate Judge:

       On January 12, 2024, the Court held a hearing by telephone conference to discuss the

parties’ briefing submitted by email on the permissible scope of questioning of Plaintiff




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McGuffin’s former criminal defense attorney, Shaun McCrea. For additional background, see

Order Re Pl.’s Mot. for Prot. Order to Modify Subpoena of McCrea, ECF No. 218 (“Order re

McCrea Subpoena”). The Court granted a 90-day extension on all deadlines and ordered

Plaintiffs to submit a working draft of the Brady evidence alleged by Plaintiff. ECF No. 233. The

Court explains the permissible scope of Defendants’ deposition questioning of Ms. McCrea

below.

                                      LEGAL STANDARDS

         Fed. R. Civ. P. 26(b)(1) entitles each party to discovery of “any nonprivileged matter that

is relevant to any party’s claim or defense and proportional to the needs of the case.” The Court

has broad discretion to determine relevancy for the purposes of Rule 26(b)(1). Goolsby v. Raney,

483 F. App'x 326, 329 (9th Cir. 2012). However, even if a discoverable matter is relevant, on

timely motion, the issuing court must modify a subpoena that “requires disclosure of privileged

or other protected matter, if no exception or waiver applies[.]” Fed. R. Civ. P. 45(d)(3)(A)(iii).

                                           DISCUSSION

         Defendant seeks to ask Ms. McCrea questions about her due diligence in investigating

and defending Plaintiff McGuffin in the underlying criminal trial. Defendants assert that

Plaintiffs’ Brady claim puts Ms. McCrea’s due diligence in discovering Brady material that was

reasonably available to her at issue, thereby waiving attorney client privilege and work product

doctrine protection. Plaintiffs respond that because Ms. McCrea’s alleged lack of due diligence

does not defeat a Brady claim, Plaintiff McGuffin has not waived the attorney-client privilege

and work product protection in that regard.




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       The Court previously found that Plaintiff McGuffin waived the attorney-client privilege

and work product doctrine as it relates to his or Ms. McCrea’s awareness of facts that would

defeat the Brady claim. See Order re McCrea Subpoena, ECF No. 218.

       A Brady claim is not defeated “by a defense counsel’s failure to exercise diligence with

respect to suppressed evidence.” Amado v. Gonzalez, 758 F.3d 1119, 1135 (9th Cir. 2014).

Evidence is suppressed when the defense counsel is not reasonably aware of it. Milke v. Ryan,

711 F.3d 998, 1017 (9th Cir. 2013). The defense counsel is not reasonably aware of facts that

require further investigation. Amado, 758 F.3d at 1136–37 (“a prosecutor should not be excused

from producing that which the law requires him to produce, by pointing to that which

conceivably could have been discovered had defense counsel expended the time and money to

enlarge his investigations.”). In contrast, a Brady claim may be defeated where the defense

counsel was, in fact, “aware of the essential facts enabling him to take advantage of any

exculpatory evidence.” Raley v. Ylst, 470 F.3d 792, 804 (9th Cir. 2006) (quoting United States v.

Brown, 582 F.2d 197, 200 (2d Cir.1978)).

       For example, in Cannon v. Polk Cnty., 702 F. App'x 527, 529 (9th Cir. 2017), the 9th

Circuit affirmed the district court’s holding that although the defense counsel did not possess the

photo line-up, because he knew of its existence and obtaining it would not have required him to

enlarge his investigation, the prosecutor did not suppress the evidence. Rather, the defense

counsel’s strategic decision not to use the evidence he was actually aware of defeated the Brady

claim. Id. In contrast, in Milke, 711 F.3d at 1016, the defense counsel’s failure to obtain

exculpatory evidence contained in the public record did not defeat the state’s obligation to

produce that evidence under Brady; holding, the defense counsel must have “enough information

to ascertain the supposed Brady material on his own.”




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       Here, Plaintiff has not waived the attorney-client privilege or work product doctrine

protection as it relates to Ms. McCrea’s alleged failure to exercise due diligence with respect to

her investigation and defense of Plaintiff McGuffin. For example, because the defense counsel

must have enough information to ascertain the supposed Brady material on her own, Ms.

McCrea’s alleged failure to hire an expert to interpret the DNA testing results would not defeat

Plaintiffs’ Brady claim.

       Having reviewed the parties’ briefing, held a hearing by telephone, reviewed Plaintiffs’

list of alleged Brady evidence, and considered the relevant law, the Court Orders the following:


   1. Questions regarding Ms. McCrea’s opinion about the adequacy of her representation in

       the Criminal Case are barred by the Stipulated Protective Order signed by the court in

       Plaintiff McGuffin’s post-conviction case. See Puracal Supp. Decl. Ex. 4, ECF No. 212.

   2. Questions regarding Ms. McCrea’s investigation during the criminal case are barred by

       the work product doctrine. However, questions regarding what Ms. McCrea was actually

       aware of as a result of her investigation are permissible. For example, whether Ms.

       McCrea investigated whether the analytical techniques of the DNA lab had changed

       between 2000 and 2011 is an impermissible question protected by the work product

       doctrine. However, whether Ms. McCrea was aware that the analytical techniques of the

       DNA lab had changed over that time is a permissible question because Plaintiff

       McGuffin waived the work product protection regarding Ms. McCrea’s actual awareness

       of exculpatory evidence. Similarly, whether Ms. McCrea hired or thinks that she should

       have hired an expert to review OSP’s lab file is protected by the work product doctrine.

       However, whether Ms. McCrea was aware that the lab’s protocols might determine how

       the data were reported is not protected.



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   3. Questions regarding Ms. McCrea’s opinion about the significance of alleged Brady

       material to her defense in the criminal case are barred by the work product doctrine.

   4. Questions regarding what Ms. McCrea considered doing as part of her defense strategy in

       the Criminal Case are barred by the work product doctrine.

                                        CONCLUSION

       The Court Orders Defendants’ questioning of Ms. McCrea to remain consistent with the

reasoning explained above and contained in the Court’s prior Order re McCrea Subpoena, ECF

No. 218.



       IT IS SO ORDERED.

       DATED this 29th day of January 2024.

                                                    s/ Mustafa T. Kasubhai
                                                    MUSTAFA T. KASUBHAI (He / Him)
                                                    United States Magistrate Judge




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